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    Counterclaimants
  6 THE COY COLLECTIVE, INC,
    JESSICA BARTLETT, COREY LEWIS,
  7 ROBERT HANKINS, and THOMAS
    DREW
  8
                        UNITED STATES DISTRICT COURT
  9
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11
      MCCANDLESS GROUP, LLC,                 CASE NO. 2:21-cv-02069-DOC-KES
 12
                      Plaintiff,             DEFENDANTS AND
 13                                          COUNTERCLAIMANTS
                 v.                          THE COY COLLECTIVE, INC,
 14                                          JESSICA BARTLETT, COREY
      THE COY COLLECTIVE, et al.,            LEWIS, ROBERT HANKINS, AND
 15                                          THOMAS DREW’S STATEMENT
                      Defendants.            OF UNCONTROVERTED FACTS
 16                                          AND CONCLUSIONS OF LAW IN
                                             SUPPORT OF THEIR MOTION
 17 THE COY COLLECTIVE, et al.,              FOR SUMMARY JUDGEMENT
 18                   Counterclaimants,      Date: Monday October 2, 2023
                                             Time: 8:30 a.m.
 19              v.                          Place: Courtroom 10A
 20 MCCANDLESS GROUP, LLC and                The Hon. David O. Carter
    NICHOLAS MCCANDLESS,                     and Magistrate Judge Karen E. Scott
 21
            Counterdefendants.               Complaint Filed:   March 8, 2021
 22                                          Discovery Cut-Off: August 28, 2023
                                             Motion Cut-Off:    October 2, 2023
 23                                          Trial:             November 7, 2023
 24
 25
                      [UNREDACTED VERSION OF DOCUMENT PROPOSED
 26                               TO BE FILED UNDER SEAL]
 27
 28
      634282.2
      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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  1              This Statement of Uncontroverted Facts is submitted by Defendants and
  2 Counterclaimants The Coy Collective, Inc, Jessica Bartlett, Corey Lewis, Robert
  3 Hankins, and Thomas Drew in support of their Motion for Summary Judgment.
  4                     STATEMENT OF UNCONTROVERTED FACTS
  5      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  6
       1.    The “creator economy” consists of
  7    independent content creators—e.g.,
       influencers, models, podcasters, and
  8
       streamers—who distribute and monetize
  9    content on the internet.
 10
       Evidence: Declaration of Jesscia Bartlett
 11    (“Bartlett Decl.”) ¶ 2.
 12
       2.     OnlyFans and Patreon are two of
 13    the largest companies in the creator
       economy space.
 14
 15    Evidence: Bartlett Decl. ¶ 3.
 16
       3.    OnlyFans is a service launched in
 17    2016 that allows creators to sell
 18    subscription content.

 19    Evidence: Bartlett Decl. ¶ 3.
 20
       4.    A creator can set up an OnlyFans
 21    page to sell content to subscribers,
 22    receive “tips,” chat with subscribers, and
       view reporting on the financial
 23    performance of the page.
 24
       Evidence: Bartlett Decl. ¶ 3.
 25
       5.     McCandless Group, LLC (“MG”)
 26
       is a company started by Nicholas
 27    McCandless (“McCandless”).
 28    Evidence: Dkt. 89 (Third Amended
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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  1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  2
       Complaint) ¶ 16.
  3
       6.     MG sites have similar
  4    functionality to OnlyFans—subscription
  5    content, tipping, chat, and financial
       reporting.
  6
  7    Evidence: Bartlett Decl. ¶ 6.

  8    7.     MG claims in pitching potential
       clients, “You also own your subscribers,
  9    data and all of your content.”
 10
       Evidence: Declaration of Colin Rolfs
 11    (“Rolfs Decl.”), Ex. H.
 12
       8.     MG claims in pitching potential
 13    clients, “You have complete access to
       your subscriber information including
 14
       name, email, and revenue received.”
 15
       9.     Evidence: Declaration of Colin
 16    Rolfs, Ex. I at MCCANDLESS008981.
 17
       10. Bartlett is a social media
 18    personality and model.
 19    Evidence: Bartlett Decl. ¶ 4.
 20
       11. Around 2019, McCandless
 21    convinced Bartlett to hire MG to develop
 22    a subscription website for her.

 23    Evidence: Bartlett Decl. ¶¶ 5, 7.
 24    12. On October 27, 2019, Bartlett and
 25    MG executed a Web Development
       Agreement (the “Bartlett WDA”).
 26
       Evidence: Bartlett Decl. ¶ 7, Ex. U.
 27
 28
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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  1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  2
       13. Because of Bartlett’s popularity,
  3    McCandless used her to market his
       services.
  4
  5    Evidence: Rolfs Decl., Exs. G, H; Bartlett
       Decl. ¶ 8.
  6    14. In February of 2020, McCandless
  7    provided a content manager- or creator-
       level login to Bartlett’s site to someone
  8    helping her manage the site.
  9
       Evidence: Rolfs Decl., Ex. A at 82:25-
 10    84:23, Exs. S, T.
 11    15. Creator-level access to an MG
 12    website has the ability to post content,
       manage chat, and see the financial
 13    earnings report.
 14
       Evidence: Rolfs Decl., Ex. A at 84:25-
 15    85:8.
 16    16. Content manager-level access to
 17    an MG website can post content and
       manage chat, but does not have access to
 18    earnings reporting.
 19
       Evidence: Rolfs Decl., Ex. A at 84:25-
 20    85:13.
 21
       17. McCandless did not require the
 22    person helping Bartlett manage her site to
       sign a non-disclosure agreement before
 23
       providing the login.
 24
       Evidence: Rolfs Decl., Ex. A at 85:14-16,
 25    Exs. S, T.
 26
       18. In 2020, Bartlett, Corey Lewis
 27    (“Lewis”), and Thomas Drew (“Drew”)
       co-founded COY—a technology
 28
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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  1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  2
       company allowing its creator clients to
  3    offer subscription content to their
       followers.
  4
  5    Evidence: Bartlett Decl. ¶¶ 9, 10;
       Declaration of Corey Lewis (“Lewis
  6    Decl.”) ¶¶ 2, 3; Declaration of Thomas
  7    Drew (“Drew Decl.”) ¶¶ 2, 3.

  8    19. Bartlett, Drew, and Lewis
       conceptualized COY as a more
  9
       “selective” OnyFans—they would hand-
 10    pick influencers and offer them
       additional services like photo-shoots.
 11
 12    Evidence: Bartlett Decl. ¶ 11; Lewis
       Decl. ¶ 4; Drew Decl. ¶ 4.
 13
 14    20. Bartlett, Drew, and Lewis vetted
       different options for building COY’s
 15    subscription platform, including hiring
 16    MG as a developer, hiring Segwik as a
       developer, or using a platform called
 17    Uscreen.
 18    Evidence: Bartlett Decl. ¶ 12; Lewis
 19    Decl. ¶ 5; Drew Decl. ¶ 5.
 20    21. COY ultimately hired MG to
 21    develop COY’s subscription platform.

 22    Evidence: Bartlett Decl. ¶ 22; Lewis
       Decl. ¶ 15; Drew Decl. ¶ 10.
 23
 24    22. When COY selected MG as its
       developer, everyone at COY was excited
 25    to work with MG.
 26
       Evidence: Bartlett Decl. ¶ 23; Lewis
 27    Decl. ¶ 17; Drew Decl. ¶ 11.
 28
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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  1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  2
       23. The suggestion to use Uscreen
  3    came from Robert Hankins (“Hankins”),
       a photographer and friend of Drew and
  4
       Lewis.
  5
       Evidence: Declaration of Robert Hankins
  6    (“Hankins Decl.”) ¶¶ 2, 3.
  7
       24. Hankins proposed joining COY to
  8    manage COY’s Uscreen relationship.
  9    Evidence: Hankins Decl. ¶ 3.
 10
       25. Hankins was only involved with
 11    COY in the summer of 2020, because
 12    shortly after COY decided not to use
       Uscreen, Hankins had no further
 13    involvement with COY.
 14    Evidence: Hankins Decl. ¶ 4.
 15
       26. On May 6, 2020, Bartlett texted
 16    McCandless to ask if he would be
 17    interested in being COY’s developer:
       “Hey Nick! Working on a subscription
 18    based project with a couple investors and
 19    pitching you as our developer.”

 20    Evidence: Bartlett Decl. ¶ 13, Ex. A.
 21
       27. On May 9, 2020, Bartlett set up a
 22    call with McCandless and Lewis to
       discuss the subscription based project.
 23
 24    Evidence: Bartlett Decl. ¶ 14, Ex. B.

 25    28. Bartlett’s May 9, 2020 message to
       McCandless notified him that she and
 26
       Lewis were collecting information for an
 27    investor pitch: “Preparing an investor
       pitch for the company I was telling you a
 28
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
                            OF MOTION FOR SUMMARY JUDGEMENT
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  1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  2
       little about. Do you have time today for a
  3    call with me and my main business guy?”
  4    Evidence: Bartlett Decl., Ex. B at
  5    COY003282.

  6    29. On May 10, 2020, Bartlett asked
       McCandless to provide Lewis with a
  7
       login to her site, so Lewis could see the
  8    user experience.
  9    Evidence: Bartlett Decl. ¶ 15, Ex. C.
 10
       30. McCandless offered to provide
 11    either a content manager or subscriber
 12    login for Lewis, and Bartlett asked for a
       subscriber login.
 13
       Evidence: Bartlett Decl. ¶ 15, Ex. C.
 14
 15    31. McCandless provided the
       subscriber login the next day, May 11,
 16    2020.
 17
       Evidence: Evidence: Bartlett Decl. ¶ 16,
 18    Ex. D; Rolfs Decl., Ex. A at 79:19-81:5,
 19    Ex. B.

 20    32. On May 12, 2020, McCandless
       proposed some terms for MG to serve as
 21
       COY’s developer.
 22
       Evidence: Bartlett Decl. ¶ 17, Ex. E.
 23
       33. The terms proposed by
 24
       McCandless included that “McCandless
 25    Group would be marketed as the
       Technology Partner powering your
 26
       technology” and that MG would retain
 27    “the code/technology” while COY would
 28
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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  1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  2
       “own all of the content and the
  3    relationships with the models.”
  4    Evidence: Bartlett Decl., Ex. E.
  5
       34. On May 13, 2020, Bartlett
  6    messaged McCandless: “Got it! Thank
       you! I'll talk this over with Corey and the
  7
       other investors in the morning.”
  8
       Evidence: Bartlett Decl. ¶ 18, Ex. F.
  9
       35. On May 14, 2020, Bartlett set up a
 10
       call with McCandless and Lewis to
 11    discuss the proposal.
 12    Evidence: Bartlett Decl. ¶ 19, Ex. G.
 13
       36. On May 16, 2023, McCandless
 14    had an over 2-hour call with Lewis.
 15    Evidence: Lewis Decl. ¶ 7, Ex. A.
 16
       37. McCandless disclosed what he
 17    contends are “trade secrets” about his
 18    payment processing on this call, prior to
       any non-disclosure agreement.
 19
       Evidence: Rolfs Decl. Ex. A at 69:21-
 20    72:21, 73:21-74:3, Ex. C, Response to
 21    Interrogatory No. 6.
 22    38. On May 19, 2020, McCandless
 23    sent Lewis estimated upkeep costs for
       hosting and email services.
 24
       Evidence: Lewis Decl. ¶ 8, Ex. B.
 25
 26    39. On May 19, 2020, Drew sent
       McCandless a detailed list of
 27    requirements for the COY sites.
 28
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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  1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                  Supporting Evidence                          and Supporting Evidence
  2
       Evidence: Drew Decl. ¶ 6, Ex. A.
  3
       40. On May 20, 2020, McCandless
  4    sent non-disclosure agreements
  5    (“NDAs”) to Bartlett, Lewis, and Drew.

  6    Evidence: Bartlett Decl. ¶ 20, Ex. H;
       Rolfs Decl., Ex. A at 74:23-25, Ex. D;
  7
       Lewis Decl. ¶ 9; Drew Decl. ¶ 7, Ex. B.
  8
       41. Bartlett, Lewis, and Drew each
  9    signed an NDA on May 21.
 10
       Evidence: Bartlett Decl. ¶ 21, Ex. I;
 11    Lewis Decl. ¶ 10, Ex. C; Drew Decl. ¶ 8,
 12    Ex. C.
 13    42. Hankins also signed an NDA on
 14    May 22, 2020.

 15    Evidence: Hankins Decl. ¶ 5, Exs. A, B.
 16    43. The NDAs that Bartlett, Lewis,
 17    Drew, and Hankins signed are governed
       by California law.
 18
       Evidence: Bartlett Decl., Ex. J § 17;
 19    Lewis Decl., Ex. D § 17; Drew Decl., Ex.
 20    D § 17; Hankins Decl., Ex. B § 17.
 21    44. On May 23, 2020, after the NDAs
 22    were signed, McCandless sent Lewis a
       document entitled, “McCandless Group
 23    Model Platform Technology Stack.”
 24
       Evidence: Lewis Decl. ¶ 11, Ex. E.
 25
       45. The documents listed the names of
 26
       the technologies used by MG for its
 27    websites.
 28    Evidence: Lewis Decl. ¶ 11, Ex. E.
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      DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and    Opposing Party’s Response to Cited Fact
                   Supporting Evidence                       and Supporting Evidence
   2
        46. The document did not disclose any
   3    source code.
   4    Evidence: Lewis Decl. ¶ 11, Ex. E.
   5
        47. At no point has COY ever had
   6    access to MG’s source code.
   7    Evidence: Bartlett Decl., ¶ 28; Lewis
   8    Decl. ¶ 12; Drew Decl. ¶ 12; Rolfs Decl.,
        Ex. A at 28:11-29:13, Ex. Q.
   9
        48. On May 27, 2020, Lewis sent the
  10
        technology stack document provided by
  11    McCandless to the manager of COY’s
  12    principal investor, Andrew Geller
        (“Geller”).
  13
        Evidence: Lewis Decl. ¶ 13, Ex. F.
  14
  15    49. Geller was the manager of COY’s
        principal investor and was advising COY
  16    on its business, including whether to
  17    retain MG as COY’s developer.

  18    Evidence: Lewis Decl. ¶ 14.
  19    50. Bartlett had informed McCandless
  20    that COY was collecting information to
        share with its investors for purposes of
  21    deciding whether to retain MG.
  22
        Evidence: Bartlett Decl. ¶ 23, Exs. A, B,
  23    F.
  24
        51. Section 4 of Lewis’ NDA permits
  25    disclosure of Confidential Information to
        “Representatives who are actively and
  26
        directly participating in the evaluation
  27    and negotiation of the Proposed
        Transaction.”
  28
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       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                   Supporting Evidence                        and Supporting Evidence
   2
        Evidence: Lewis Decl., Ex. D § 4.
   3
        52. Section 3 of Lewis’ NDA defines
   4    “Representative” to include “advisors.”
   5
        Evidence: Lewis Decl., Ex. D § 3.
   6
        53. The only other person Lewis sent
   7    the document to was Drew.
   8
        Evidence: Drew Decl. ¶ 9, Ex. D.
   9    54. Drew never sent the document to
  10    anyone else.

  11    Evidence: Drew Decl. ¶ 9.
  12    55. COY and MG continued to
  13    negotiate pricing and terms for MG to
        serve as COY’s developer in June and
  14    July 2020.
  15    Evidence: Bartlett Decl. ¶ 24, Ex. K;
  16    Lewis Decl. ¶ 16, Ex. G.
  17    56. On August 6, 2023, COY’s
  18    designer, Maria Deligiorgio, provided
        designs for the COY websites to MG.
  19
        Evidence: Bartlett Decl. ¶ 25, Ex. L.
  20
  21    57. MG subsequently copied these
        designs for its own sites, without
  22    permission.
  23
        Evidence: Rolfs Decl., Ex. A at 120:10-
  24    123:19, Ex. E; Bartlett Decl. ¶ 26.
  25
        58. On August 6, COY and MG
  26    entered into a Web Development
  27    Agreement (the “COY WDA”).

  28    Evidence: Bartlett Decl. ¶ 27, Ex. M.
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       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and      Opposing Party’s Response to Cited Fact
                   Supporting Evidence                         and Supporting Evidence
   2
        59. Bartlett, Lewis, and Drew intended
   3    for COY to abide by the terms of the
        COY WDA; they had no intent to “steal”
   4
        any of MG’s technology.
   5
        Evidence: Bartlett Decl. ¶ 27; Lewis
   6    Decl. ¶ 17; Drew Decl. ¶ 11.
   7    60. The COY WDA states that MG
        would serve as the developer for COY’s
   8    subscription websites.
   9
        Evidence: Bartlett Decl., Ex. M recital,
  10    §§ 1.1(a), 1.2.
  11    61. The COY WDA provides that
  12    COY “wishes to utilize the services of
        Developer in connection with the
  13    development of software identified as the
  14    Coy Collective, INC Websites.”
  15    Evidence: Bartlett Decl., Ex. M recital.
  16    62. The COY WDA provides that
  17    COY wanted to recruit models and have
        MG build websites for them.
  18
  19    Evidence: Bartlett Decl., Ex. M recital,
        §§ 1.1, 1.2.
  20
        63. Section 4 of the COY WDA
  21
        provides, in part, “[t]he Developer is and
  22    shall remain an independent contractor of
        the Customer and nothing contained in
  23
        this Agreement shall be deemed to create
  24    an employer/employee, principal/agent,
        partnership or joint venture relationship
  25
        between the parties.”
  26
        Evidence: Bartlett Decl., Ex. M § 4.
  27
  28
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       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and      Opposing Party’s Response to Cited Fact
                   Supporting Evidence                         and Supporting Evidence
   2
        64. McCandless contends that the
   3    “partnership” he is referring to in his
        allegations was documented at least in
   4
        part by the COY WDA:
   5
        “I’m asking if you put the terms of the
   6    partnership you’re referring to into the
   7    web development agreement?

   8    THE WITNESS: There was terms
   9    involved with the partnership in the web
        development agreement.”
  10
        Evidence: Rolfs Decl., Ex. A at 202:20-
  11
        203:1.
  12
        65. McCandless testified to the
  13    following at his deposition:
  14
        “Q: Would you ever enter into a
  15    partnership without a signed agreement?
  16    A: We would have some contract in
  17    place.”
  18    Evidence: Rolfs Decl., Ex. A at 200:9-14.
  19    66. McCandless admitted to using the
  20    term “partner” as a casual shorthand for a
        vendor relationship.
  21
  22    Evidence: Rolfs Decl., Ex. A at 98:21-
        101-4, Ex. U.
  23
        67. Section 6.1 of the COY WDA
  24
        provides: “Except as may be otherwise
  25    granted herein, title to and ownership of
        all intellectual property rights including,
  26
        without limitation, any patent, trademark,
  27    copyright or intellectual or industrial
        property right (the “Developer
  28
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       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                   Supporting Evidence                        and Supporting Evidence
   2
        Intellectual Property”) relating to the
   3    Software shall at all times remain with
        Developer.”
   4
   5    Evidence: Bartlett Decl., Ex. M § 6.1.

   6    68. The COY WDA does not define
        the term “Software.”
   7
   8    Evidence: Bartlett Decl., Ex. M.
   9    69. COY has never claimed ownership
        over any of MG’s intellectual property
  10
        covered by the COY WDA.
  11
        Evidence: Bartlett Decl. ¶ 27.
  12
  13    70. The COY WDA defines
        “Confidential Information” as
  14    information “designated or described by
  15    the disclosing party as ‘Confidential,’
        ‘Proprietary’ or some similar
  16    designation, or which should reasonably
  17    be understood by the receiving party,
        because of the circumstances of
  18    disclosure or the nature of the
  19    information itself to be confidential or
        proprietary to the disclosing party.”
  20
        Evidence: Bartlett Decl., Ex. M § 5.1.
  21
  22    71. The COY WDA specifically
        excludes from the definition of
  23    “Confidential Information”:
  24
        “[A]ny information which (i) is publicly
  25    known through no action or inaction of
  26    the receiving party; (ii) was already in
        the possession of the receiving party at
  27    the time of disclosure without an
  28    obligation of confidentiality, direct or
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       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and      Opposing Party’s Response to Cited Fact
                   Supporting Evidence                         and Supporting Evidence
   2
        indirect, to the disclosing party; (iii) is
   3    obtained by the receiving party from an
        independent third party without a breach
   4
        of such third party’s obligations of
   5    confidentiality; or (iv) is independently
        developed by the receiving party without
   6
        use of or reference to materials provided
   7    by the disclosing party.”
   8    Evidence: Bartlett Decl., Ex. M § 5.1.
   9
        72. Section 13a. of the COY WDA
  10    provides, in part, “This Agreement sets
        forth the entire agreement and
  11
        understanding of the parties hereto
  12    concerning the subject matter hereof,
        and, except as otherwise specifically
  13
        provided below, supersedes all prior and
  14    contemporaneous correspondence,
  15    agreements, arrangements and
        understandings, both oral and written,
  16    between the parties hereto concerning the
  17    subject matter hereof.”

  18    Evidence: Bartlett Decl., Ex. M § 13(a).
  19    73. COY’s website described COY as
  20    “a full service technology company.”

  21    Evidence: Rolfs Decl., Ex. K.
  22    74. On August 31, 2020, Bartlett sent
  23    McCandless an email that included the
        language COY wanted on its website,
  24    including that COY was “a full service
  25    technology company.”

  26    Evidence: Rolfs Decl., Ex. K.
  27    75. McCandless never reached out to
  28    anyone at COY to ask why COY was
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   2
        describing itself as “a full service
   3    technology company.”
   4    Evidence: Rolfs Decl., Ex. A at 113:18-
   5    114:20.

   6    76. In August 2020, Bartlett and MG
        agreed that her and one other model’s
   7
        site would transfer to COY, except that
   8    COY would pay MG a minimum amount
        for these two specific sites.
   9
  10    Evidence: Bartlett Decl. ¶ 29, Ex. N.
  11    77. On September 7, 2020,
  12    McCandless emailed Bartlett to confirm
        that the Bartlett WDA had terminated:
  13
  14    “[A]s of September 1, 2020 any and all
        financial responsibilities that
  15    McCandless Group, LLC committed to in
  16    our Website Development Agreement are
        no longer the responsibility of
  17    McCandless Group, LLC.”
  18    Evidence: Bartlett Decl. ¶ 30, Ex. O.
  19
        78. COY successfully recruited
  20    thirteen models and asked MG to build
  21    their websites.

  22    Evidence: Bartlett Decl. ¶ 31.
  23    79. By October 2020, friction had
  24    emerged between COY and MG.

  25    Evidence: Bartlett Decl. ¶ 32.
  26    80. MG had difficulty launching a
  27    number of sites for COY on time,
        frustrating COY.
  28
       634282.2                                   16
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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                   Supporting Evidence                       and Supporting Evidence
   2
        Evidence: Bartlett Decl. ¶ 32.
   3
        81. McCandless began to view COY
   4    as competing with MG in recruiting
   5    models.

   6    Evidence: Bartlett Decl. ¶ 33, Ex. P.
   7    82. On October 19, 2020, McCandless
   8    texted Bartlett to tell her MG would
        refuse to build a website for a model,
   9    Mikayla Demaiter (“Demaiter”), because
  10    MG “had active conversations with” her.
  11    Evidence: Bartlett Decl. ¶ 34, Ex. Q.
  12    83. McCandless had been pitching
  13    Demaiter up until July 30, 2020, after
        which she stopped responding to him.
  14
  15    Evidence: Rolfs Decl., A at 149:9-151:1;
        Rolfs Decl., Ex. J.
  16
        84. In October 2020, COY reached out
  17    to Dionna McPhatter (“McPhatter”)
  18    about building new sites for COY’s
        clients.
  19
  20    Evidence: Bartlett Decl. ¶ 35.

  21    85.       Blank – No Response Required
  22    86.       Blank – No Response Required
  23    87.       Blank – No Response Required
  24    88.       Blank – No Response Required
  25    89. McPhatter was not provided with
  26    MG’s tech stack document.

  27    Evidence: Bartlett Decl. ¶ 35.
  28
       634282.2                                  17
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   1      Moving Parties’ Uncontroverted Facts and    Opposing Party’s Response to Cited Fact
                   Supporting Evidence                       and Supporting Evidence
   2
        90. COY ultimately decided not to
   3    replace MG with McPhatter.
   4    Evidence: Bartlett Decl. ¶ 36.
   5
        91. Jason Moskowitz (“Moskowitz”)
   6    is McCandless’ business partner.
   7    Evidence: Rolfs Decl., Ex. A at 200:2-7.
   8
        92. On November 2, 2020, Moskowitz
   9    sent a letter to COY demanding
        significant changes to the terms of the
  10
        COY WDA as a condition of continuing,
  11    stating MG would otherwise shut down
  12    all COY sites on December 31, 2020.

  13    Evidence: Bartlett Decl. ¶ 37, Ex. R.
  14    93. The letter concluded, “[i]f the
  15    result is that you can’t accept this and
        need to move in another direction—
  16    perhaps even becoming our competitor—
  17    we are fully aware of that and will be
        helpful during this transition.”
  18
  19    Evidence: Bartlett Decl., Ex. R.

  20    94. On November 3, 2020, Bartlett
        notified Moskowitz that COY was not
  21
        interested in the changed terms so
  22    “would be taking the option in which
        sites are terminated on Dec. 31st.”
  23
  24    Evidence: Bartlett Decl. ¶ 38, Ex. S.

  25    95. On November 9, 2020 Moskowitz
        sent COY another letter.
  26
  27    Evidence: Bartlett Decl. ¶ 39, Ex. T.
  28
       634282.2                                  18
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                   Supporting Evidence                          and Supporting Evidence
   2
        96. Moskowitz’s November 9 letter
   3    notified COY that MG was refusing to
        transfer the domains of most of COY’s
   4
        clients to COY.
   5
        Evidence: Bartlett Decl., Ex. T.
   6
        97. Before Moskowitz sent the letter,
   7
        McCandless explained to him the reasons
   8    for withholding the domains:
   9    “Yep, I have done many things like this
  10    to lock people in without them even
        knowing it so can definitely use this as
  11    leverage since I own and control all of
  12    their domains except for a couple that the
        models already owned.”
  13
        Evidence: Rolfs Decl., Ex. A at 106:23-
  14
        107:10, Ex. L.
  15
        98. MG retained most of the domains
  16    to the websites it built for COY, despite
  17    having no use for them.
  18    Evidence: Rolfs Decl., Ex. A at 111:2-19,
  19    112:5-113:2.
  20    99. The payment processing account
  21    for COY’s websites stored subscriber
        information and allowed for recurring
  22    subscription charges.
  23
        Evidence: Bartlett Decl. ¶ 40.
  24
        100. Section 8.2 of the COY WDA
  25    states, “Customer will establish an
  26    account for payment processing with the
        payment processor assigned to Customer
  27    by Developer.”
  28
       634282.2                                     19
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                   Supporting Evidence                        and Supporting Evidence
   2
        Evidence: Bartlett Decl., Ex. M § 8.2.
   3
        101. McCandless had set up an account
   4    with the payment processing company—
   5    CCBill—in MG’s name.

   6    Evidence: Bartlett Decl. ¶ 49, Ex. T.
   7    102. McCandless refused to turn over
   8    the account to COY or transfer any of the
        subscribers.
   9
        Evidence: Bartlett Decl. ¶ 40, Ex. T.
  10
  11    103. McCandless intended to deny
        COY its subscriber data.
  12
  13    Evidence: Rolfs Decl., Ex. A at 129:23-
        130:8.
  14
        104. McCandless checked with CCBill
  15    prior to attempting to change the terms of
  16    the WDA, to confirm CCBill would let
        him withhold subscriber data from COY.
  17
  18    Evidence: Rolfs Decl., Ex. A at 131:10-
        134:13, 138:2-9; Rolfs Decl. Ex. F.
  19
        105. Because of MG’s withholding of
  20
        internet domains and subscriber
  21    information, COY could not relaunch its
        websites using the same domains or
  22
        maintain the existing subscribers to its
  23    creators’ websites.
  24    Evidence: Bartlett Decl. ¶ 41.
  25
        106. MG kept Bartlett’s site running
  26    after the COY WDA was terminated until
        approximately February 2021.
  27
  28    Evidence: Rolfs Decl., Ex. A at 111:7-15.
       634282.2                                   20
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   1      Moving Parties’ Uncontroverted Facts and      Opposing Party’s Response to Cited Fact
                   Supporting Evidence                         and Supporting Evidence
   2
   3    107. McCandless admitted that MG had
        no contract in place with Bartlett after
   4
        February 2021:
   5
        “Q. After approximately February of
   6    2021, was McCandless Group required
   7    by any contract to operate a website for
        Jessica Bartlett?
   8
        A. It was not required of us.”
   9
        Evidence: Rolfs Decl., Ex. A at 152:23-
  10
        153:1.
  11
        108. COY was forced to hire a new
  12    developer to rebuild its creators’
  13    websites—Segwik.
  14    Evidence: Bartlett Decl. ¶ 42.
  15    109. In late 2020, COY retained Segwik
  16    to build websites for its clients to sell
        subscription content.
  17
  18    Evidence: Declaration of Pete Romano
        (“Romano Decl.”) ¶ 2.
  19
        110. COY instructed Segwik to build
  20    sites with the basic functionality of
  21    OnlyFans
  22    Evidence: Romano Decl. ¶ 2.
  23
        111. Segwik was never provided with a
  24    document describing the technology
        stack for the websites built by MG.
  25
  26    Evidence: Romano Decl. ¶ 3.
  27    112. No one from COY described MG’s
        tech stack to Segwik orally or in writing.
  28
       634282.2                                    21
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1    Moving Parties’ Uncontroverted Facts and      Opposing Party’s Response to Cited Fact
                 Supporting Evidence                         and Supporting Evidence
   2
       Evidence: Romano Decl. ¶ 3.
   3
       113. Segwik did not have or use any
   4   technical information about MG’s
   5   websites in building websites for COY’s
       clients.
   6
       Evidence: Romano Decl. ¶ 3.
   7
   8   114. The only data that Segwik
       obtained from the prior MG websites was
   9   COY’s clients’ data—i.e., identities and
  10   emails of the clients’ subscribers, clients’
       chat history, and clients’ photos and
  11   videos.
  12
       Evidence: Romano Decl. ¶ 7.
  13
       115. COY’s clients’ data belonged to
  14   COY.
  15
       Evidence: Bartlett Decl., Ex. E, Ex. M §§
  16   1.2(f), 6.1, 6.3, 7.
  17   116. As McCandless had told COY,
  18   MG would own “the code/technology”
       but COY would “own all of the content.”
  19
  20   Evidence: Bartlett Decl., Ex. E.

  21   117. Segwik had an existing technology
       platform which it had developed before
  22
       being retained by COY; it uses this
  23   platform for multiple clients, and it used
       this platform to build sites for COY’s
  24
       clients.
  25
       Evidence: Romano Decl. ¶¶ 4, 7.
  26
      118. Because it already had an existing
  27
      platform, Segwik had to build only a few
  28 elements of these websites, which it did
     634282.2                                 22
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and    Opposing Party’s Response to Cited Fact
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   2
        without any knowledge of MG’s tech
   3    stack.
   4    Evidence: Romano Decl. ¶¶ 3, 5.
   5
        119. Segwik’s build used Angular
   6    rather than React for front end
        architecture and RDS rather than
   7
        MongoDB for database architecture.
   8
        Evidence: Romano Decl. ¶ 5.
   9
        120. For payment processing, COY set
  10
        up a new account with CCBill.
  11
        Evidence: Bartlett Decl. ¶ 43.
  12
  13    121. COY hired third parties—first
        Slashed Content and then Be Safe
  14    Management—to provide DMCA take
  15    down services.

  16    Evidence: Bartlett Decl. ¶ 44.
  17    122. COY never asked these companies
  18    to provide anything other than their
        standard services.
  19
        Evidence: Bartlett Decl. ¶ 43.
  20
  21    123. COY ultimately did not succeed in
        relaunching its websites, shutting them
  22    all down before the end of 2021.
  23
        Evidence: Declaration of Matt Silk (“Silk
  24    Decl.”) ¶ 2.
  25    124. After MG terminated the COY
  26    WDA, COY never made a profit from its
        subscription website business, losing
  27    over $300,000 in 2021.
  28
       634282.2                                  23
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and       Opposing Party’s Response to Cited Fact
                   Supporting Evidence                          and Supporting Evidence
   2
        Evidence: Silk Decl. ¶ 3, Exs. A & B.
   3
        125. After 2021, COY’s subscription
   4    website business had been shut down,
   5    and COY had no revenue.

   6    Evidence: Silk Decl. ¶ 3, Exs. A & B.
   7    126. After MG terminated the
   8    relationship with COY, COY never
        competed with MG to sign any new
   9    models.
  10
        Evidence: Bartlett Decl. ¶ 45.
  11
        127. After the termination, COY was
  12    focused on servicing its existing clients
  13    under contract.
  14    Evidence: Bartlett Decl. ¶ 45.
  15    128. COY signed up only one new
  16    model after the termination, and that
        model was never a potential MG client.
  17
  18    Evidence: Bartlett Decl. ¶ 45.

  19    129. COY never distributed any profits
        or paid any salary to Lewis, Drew, or
  20
        Bartlett.
  21
        Evidence: Bartlett Decl. ¶ 46; Lewis
  22    Decl. ¶ 20; Drew Decl. ¶ 15.
  23
        130. MG’s profits grew by $1.5 million
  24    the year after it terminated the COY
        WDA.
  25
  26    Evidence: Rolfs Decl., Ex. Y.
  27    131. Defendants asked MG to identify
  28    its trade secrets in discovery.
       634282.2                                     24
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and    Opposing Party’s Response to Cited Fact
                   Supporting Evidence                       and Supporting Evidence
   2
        Evidence: Rolfs Decl., Ex. C,
   3    Interrogatory No. 1.
   4    132. MG contends that its “technology
   5    stack” is a trade secret:

   6    “The ‘technology stack’ consists of
        utilizing servers node.js with express and
   7
        MongoDB Database, react with redux,
   8    FFmpeg to transcode and process videos,
        TinyPNG to compress images, S3 for
   9
        storing data, CloudFront to serve private
  10    content securely, Nginx to reverse proxy
        and static server react builds, Socket io
  11
        for chat, CCBill for payment processing,
  12    hosting services through Amazon AWS
        EC2 instances, S3 to store media files,
  13
        Amazon Route 53, and AWS
  14    CloudWatch to monitor server resource
  15    utilization.

  16    Further, the technology allows users to
  17    handle and manage data. Website
        settings are stored on MongoDB which
  18    decides theme and other options. Users
  19    can register and then subscribe to view
        exclusive content. Active subscribers can
  20    also engage in chat with the models.
  21    Subscribers can update profile settings
        and manage their subscription access.
  22    Subscribers can tip and purchase locked
  23    content on the model’s exclusive content
        feed and in private chat. The technology
  24    stack includes security and privacy
  25    protection, meaning that only users with
        a specific role can access the data with
  26    the correct JWT token. API routes are
  27    also protected based on user roles.
        Uploaded content is stored on S3 with a
  28
       634282.2                                  25
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and    Opposing Party’s Response to Cited Fact
                   Supporting Evidence                       and Supporting Evidence
   2
        unique id and the content is served with a
   3    signed url with CloudFront.
   4
        Sites are built for scalability.
   5    Specifically, sites are hosted across
        infinitely scalable AWS server instances
   6
        to allow for no limitations of traffic,
   7    bandwidth, and activity. Databases are
        hosted across MongoDB databases that
   8
        are built for infinite scalability.
   9    Dedicated server instances for video
        transcoding and processing services that
  10
        websites leverage for videos. Image
  11    processing is carried out by the same
        node.js instance which is responsible for
  12
        the API. This scalability gives the
  13    capacity to launch over 200 websites a
        week.”
  14
  15
        Evidence: Rolfs Decl., Ex. C, Response
  16    to Interrogatory No. 1.
  17    133. The core of this stack is a common
        “MERN” stack—MongoDB, Express,
  18    React, Node.
  19    Evidence: Declaration of Sarah Bostwick
  20    (“Bostwick Decl.”) ¶ 5.
  21    134. This build is publicly described on
  22    MongoDB’s website.

  23    Evidence: Rolfs Decl., Ex. BB.
  24    135. The remainder of the stack consists
  25    of popular third-party services for
        hosting, image compression, and video
  26    encoding, all of which are publicly
  27    advertised by the relevant third-parties.

  28
       634282.2                                  26
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and    Opposing Party’s Response to Cited Fact
                   Supporting Evidence                       and Supporting Evidence
   2
        Evidence: Bostwick Decl. ¶¶ 17-21, 35,
   3    36; Rolfs Decl., Exs. BB-OO.
   4    136. MG’s tech stack is a common,
   5    generally known build.

   6    Evidence: Bostwick Decl. ¶ 60; Rolfs
        Decl., Exs. BB-OO.
   7
   8    137. McCandless disclosed substantial
        portions of MG’s tech stack in MG’s
   9    pitch decks.
  10
        Evidence: Rolfs Decl., Ex. A at 44:15-
  11    46:17, 48:5-11; 53:18-56:4, 65:5-18, Ex.
  12    M at McCandless006982, Ex. N at
        McCandless009964, McCandless009969.
  13
        138. McCandless does not recall ever
  14    asking anyone to sign a non-disclosure
  15    agreement before seeing MG’s pitch
        deck.
  16
  17    Evidence: Rolfs Decl., Ex. A at 65:12-
        65:18.
  18
        139. MG’s technology stack was built
  19    by a third-party developer in India—
  20    Rayo Infotech (“Rayo”).
  21    Evidence: Rolfs Decl., Ex. A at 31:20-25.
  22
        140. McCandless does not have a non-
  23    disclosure agreement covering this stack.
  24
        Evidence: Rolfs Decl., Exs. Q, X; id., Ex.
  25    P Response to Interrogatory No. 1.
  26
        141. MG’s agreement with Rayo covers
  27    only information that MG shares with
  28    Rayo (not the other way around):
       634282.2                                  27
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                   Supporting Evidence                        and Supporting Evidence
   2
   3    “‘McCandless Group, LLC’ in its sole
        discretion may provide to Contractor
   4
        certain ‘Proprietary Information.’”
   5
   6    Evidence: Rolfs Decl., Ex. X § 1.
   7    142. The final component of MG’s tech
   8    stack is CCBill, a payment processor.
   9    Evidence: Rolfs Decl., Ex. C Response to
        Interrogatory No. 1.
  10
  11    143. OnlyFans also uses CCBill.
  12    Evidence: Bartlett Decl. ¶ 43.
  13    144. Anyone who visited an MG site
  14    could determine that MG used CCBill.
  15    Evidence: Rolfs Decl., Ex. A at 68:25-
  16    69:5, 206:14-24, Ex. W.

  17    145. Anyone who visited an MG site
        could determine the features offered by
  18    the website to subscribers.
  19
        Evidence: Rolfs Decl., Ex. A at 65:20-
  20    67:13, Exs. V, W.
  21
        146. McCandless disclosed his alleged
  22    “trade secrets” regarding payment
        processing to Lewis on May 16, 2020,
  23
        prior to Lewis executing a non-disclosure
  24    agreement.
  25    Evidence: Rolfs Decl., Ex. A at 72:3-
  26    73:2, 73:25-74:8, 74:23-75:8, Ex. C
        Response to Interrogatory No. 6, Ex. D.
  27
        147. This call was over two hours.
  28
       634282.2                                   28
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1    Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                 Supporting Evidence                        and Supporting Evidence
   2
       Evidence: Lewis Decl. ¶ 8, Ex. A.
   3
       148. MG contends that its trade secrets
   4   include a “dynamic watermarking
   5   feature” and “DMCA practices:”

   6   “Additionally, the technology stack
   7   includes our dynamic watermarking
       feature. The watermarking feature
   8   assigns a unique watermark to each user
   9   address when visiting or viewing a piece
       of content. That way, if content is leaked,
  10   it is leaked with the unique watermark,
  11   allowing us to identify the account
       associated with the link and restrict that
  12   account’s access moving forward. Once
  13   identified, DMCA practices are used to
       enforce the Copyright and have leaked
  14   content removed from other sites.”
  15
       Evidence: Rolfs Decl., Ex. A at 54:2-9,
  16   Ex. C Response to Interrogatory No. 1.
  17   149. Watermarking is a common, well-
       known practice.
  18
       Evidence: Bostwick Decl. ¶ 34.
  19
  20   150. MG never disclosed to COY any
       code for its watermarking.
  21
       Evidence: Rolfs Decl., Ex. A at 28:11-
  22
       29:13; Bartlett Decl. ¶ 28; Lewis Decl.
  23   ¶ 12; Drew Decl. ¶ 12.
  24   151. MG’s watermarking practices were
  25   disclosed in MG’s pitch deck, which he
       shares without requiring non-disclosure
  26   agreements.
  27
      Evidence: Rolfs Decl., Ex. A at 52:22-25,
  28 54:11-16, Ex. N MCCANDLESS009969.
     634282.2                                29
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and    Opposing Party’s Response to Cited Fact
                   Supporting Evidence                       and Supporting Evidence
   2
   3    152. MG’s DMCA practices consist of
        using Google to search for infringing
   4    images and then submitting takedown
   5    requests.

   6    Evidence: Rolfs Decl., Ex. A at 55:13-
        56:4, 85:17-87:7.
   7
   8    153. MG discloses that it offers DMCA
        services in its pitch deck.
   9
        Evidence: Rolfs Decl., Ex. A at 55:6-17,
  10
        Ex. N MCCANDLESS009969.
  11
        154. MG contends that its trade secrets
  12    include “pricing for potential clients”:
  13
        “Defendants also misappropriated
  14    McCandless Group’s costs and
  15    accounting their social media accounts,
        how long their audience has been
  16    following them, and any niches that
  17    potential clients may have beyond their
        physical appearance. Utilizing these
  18    factors, we attempt to identify an
  19    appropriate revenue sharing proposal
        structure. This includes identification and
  20    pricing for potential clients, which is
  21    based on factors such as number of
        followers, engagement on social media
  22    posts, age of their social media accounts,
  23    how long their audience has been
        following them, and any niches that
  24    potential clients may have beyond their
  25    physical appearance. Utilizing these
        factors, we attempt to identify an
  26    appropriate revenue sharing proposal.”
  27
  28
       634282.2                                  30
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   2
       Evidence: Rolfs Decl., Ex. C Response to
   3   Interrogatory No. 1.
   4   155. McCandless admitted that his
   5   process for deciding pricing for potential
       clients consists of reviewing how popular
   6   a potential client is on social media and
   7   then making a “judgement call” about
       what revenue split to offer.
   8
       Evidence: Rolfs Decl., Ex. A at 93:17-
   9
       96:24.
  10
       156. McCandless discloses his revenue
  11   split offers to potential clients without
  12   requiring a non-disclosure agreement.
  13   Evidence: Rolfs Decl., Ex. A at 97:9-
  14   98:13, Ex. G.

  15   157. MG also contends various basic
       accounting procedures are “trade
  16   secrets”:
  17
        “Additionally, costs associated with
  18    launching a website often varies. For
  19    McCandless Group, our technology stack
        and streamlined technology makes the
  20    launch process extremely efficient and
  21    cost effective. Additional costs include
        servers and hosting, which are based on
  22    traffic to the site, payment processing
  23    fees, and emails. Further, McCandless
        Group’s revenue model, which is
  24    dependent on the revenue sharing
  25    agreement, and calculated by utilizing the
        gross revenue, subtracting the combined
  26    6.95% payment processing fee,
  27    subtracting the total of chargebacks and
        refunds, and then paying the client based
  28    on the agreed upon percentage of
       634282.2                                  31
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
                             OF MOTION FOR SUMMARY JUDGEMENT
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   1      Moving Parties’ Uncontroverted Facts and      Opposing Party’s Response to Cited Fact
                   Supporting Evidence                         and Supporting Evidence
   2
        revenue.”
   3
        Evidence: Rolfs Decl., Ex. C Response to
   4    Interrogatory No. 1.
   5
        158. MG also contends he has
   6    developed a system to “clearly lay[] out
        the amount of money owed to each
   7
        client” and then pay those clients via
   8    PayPal:
   9
        “Further, McCandless group built a
  10    system for handling collection,
        calculations, and processing of payments
  11
        for hundreds of clients. Each client had a
  12    subaccount using CCBill to easily
        organize the revenue generated from
  13
        each site in addition to the fees and
  14    deductions. Those numbers were then
  15    plugged into our technology, creating the
        revenue calculations stated above. An in-
  16    house reporting system was built to
  17    generate a monthly report based on the
        calculations clearly laying out the
  18    amount of money owed to each client.
  19    Payments are now streamlined using
        Heartland for ACH payments, AMEX
  20    FX for international payments, and
  21    manually distributing payments via
        PayPal for a small amount of clients.”
  22
  23    Evidence: Rolfs Decl., Ex. C Response to
  24    Interrogatory No. 1.

  25    159. McCandless never provided COY
        any code for the portion of its website
  26
        that allows clients to see their revenue.
  27
  28
       634282.2                                    32
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
                             OF MOTION FOR SUMMARY JUDGEMENT
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   1      Moving Parties’ Uncontroverted Facts and      Opposing Party’s Response to Cited Fact
                   Supporting Evidence                         and Supporting Evidence
   2
        Evidence: Rolfs Decl., Ex. A at 28:11-
   3    29:13; Bartlett Decl. ¶ 28; Lewis Decl. ¶
        12; Drew Decl. ¶ 12.
   4
   5    160. On May 27, 2020, McCandless
        provided a login to a potential customer
   6    without requiring a non-disclosure
   7    agreement.
   8    Evidence: Rolfs Decl., Ex. A at 76:20-
        78:16, Ex. R.
   9
  10    161. MG disclosed the layout of its
        financial reporting pages and chat feature
  11    without requiring any non-disclosure
  12    agreement.
  13    Evidence: Rolfs Decl., Ex. A at 66:11-14;
  14    76:20-79:13, Ex. R.

  15    162. MG contends that it has “created a
        system for managing chargebacks”:
  16
  17    “McCandless Group created a system for
        managing chargebacks, as remaining
  18    under 1% in terms of chargeback ratio is
  19    crucial to maintain good standing with
        major credit card companies. Utilizing
  20    technology to detect fraud such as
  21    limiting transactional amounts on new
        customers, monitoring for irregular
  22    activity, addressing customer concerns
  23    promptly, and ensuring clients are not
        abusing the system, McCandless Group
  24    is able to maintain a chargeback
  25    percentage much lower than
        industry standard.”
  26
        Evidence: Rolfs Decl., Ex. C Response to
  27
        Interrogatory No. 1.
  28
       634282.2                                    33
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                   Supporting Evidence                        and Supporting Evidence
   2
        163. Chargebacks occur when
   3    subscribers ask their credit card company
        to reverse charges, resulting in a loss of
   4
        payment.
   5
        Evidence: Rolfs Decl., Ex. A at 60:19-25.
   6
        164. Anyone with a basic understanding
   7
        of online payments would realize it is
   8    important to have a low chargeback ratio.
   9    Evidence: Rolfs Decl., Ex. A at 61:5-8,
  10    61:13-63:13.
  11    165. MG contends its trade secrets
  12    consist of various discounts offered to
        subscribers, content pricing, and
  13    “marketing” through “social media” and
  14    on MG’s websites:

  15    “McCandless Group has also developed
        important processes for optimizing
  16    retention rates. Processes such as
  17    discounting all of the individually
        purchased content by a percentage,
  18    discounting a subscriber’s first month or
  19    offering a discount for the first month for
        a returning subscriber were crucial
  20    processes in developing McCandless
  21    Group’s retention rate. These processes
        were learned through exhaustive testing
  22    of promo offers, technologies, and
  23    strategies in order to optimize the
        retention rates.
  24
  25    McCandless Group was also able to
        maximize their revenue through methods
  26
        of working with their clients. For
  27    instance, McCandless Group developed a
        process to be able to recommend pricing
  28
       634282.2                                   34
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                   Supporting Evidence                        and Supporting Evidence
   2
        of subscriptions based on their content,
   3    audience, and data retained on similar
        clients. The recommendations vary by
   4
        clients but are suggested in order to
   5    maximize the client’s revenue. Marketing
        through social media and within the
   6
        websites in terms of the captions,
   7    messaging, and pricing for content have
        also proven a process developed by
   8
        McCandless Group through trial and
   9    error which maximizes revenue.”
  10
        Evidence: Rolfs Decl., Ex. C Response to
  11
        Interrogatory No. 1.
  12
        166. On August 9, MG disclosed the
  13    name of one damages expert.
  14
        Evidence: Rolfs Decl. ¶¶ 27, 28, Ex. Z.
  15
        167. To this day, MG and McCandless
  16    have not produced any expert report.
  17
        Evidence: Rolfs Decl. ¶ 28.
  18
        168. MG’s first and only request to
  19    COY for financial records was served on
  20    July 13, 2023.
  21    Evidence: Rolfs Decl. ¶ 29.
  22
        169. COY’s responses to these requests
  23    were due August 14, 2023—after expert
        disclosures.
  24
  25    Evidence: Rolfs Decl. ¶ 29.

  26    170. McCandless claimed during
        deposition that it is appropriate to scrape
  27
        information from a website if the website
  28
       634282.2                                   35
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
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   1      Moving Parties’ Uncontroverted Facts and     Opposing Party’s Response to Cited Fact
                   Supporting Evidence                        and Supporting Evidence
   2
        does not have security measures in place
   3    to prevent it.
   4    Evidence: Rolfs Decl., Ex. A at 118:14-
   5    119:18.

   6    171. McCandless testified that he asked
        his developers to scrape information
   7
        from COY’s sites.
   8
        Evidence: Rolfs Decl., Ex. A at 118:14-
   9    119:18.
  10
        172. The COY WDA provides that MG
  11    would own the software but COY would
  12    own all content.

  13    Evidence: Bartlett Decl., Ex. M §§ 1.2(f),
        6.1, 6.3, 7.
  14
  15 DATED: September 1, 2023               MILLER BARONDESS, LLP
  16
  17
  18                                        By:          /s/ Colin H. Rolfs
                                                     COLIN R. ROLFS
  19
                                                     Attorneys for DEFENDANTS
  20
  21
  22
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  28
       634282.2                                   36
       DEFENDANTS AND COUNTERCLAIMANTS’ STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT
                             OF MOTION FOR SUMMARY JUDGEMENT
